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                       Rln the weeksleading up toAugust 12,Congregate organized a
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                       wasinterested in participating.They broughtin trainprs from
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                       the opposition to the right-wing groups and m ake ithqrderfor
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                     ation by no m eans em erged on the weekend ofAugust 12th2017.
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        radios,itis im plausible they do notknow this.
            a.'fheDailyCallercompiledalistof16attacksbyAntifaandql
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               Leftradicalsagainstmainstream conservativesfrom Juneoj2016to
               Juneof2017.ThisdoesnotincludetheassaultonRichardStencer,or
               the m any m ore attacks on dAltRight''dem onstrationsw hich had
               occurred duringthesametimefram e.(SeeExhibit4o-
               AttacksBeforeAlz.pdf)




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              b. ProjectVeritasexposed operatives'cbnnectedtotheHillal-y Cl
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           b. Solidarity Cville Published a blog postdtcharlottesville Com m unity In
              Solidarity W ith Gran'd Jury Resistors''Exhibit4z-solidarityGlR.pdf

              ItsGoingDown.org published azèarticle titled dY irgizlia IsFor Grand
              Jury Resisters!W hatYou N eed ToK now''

                        i. W e Snd itnotable thataside fl'om the hate crim esact;itis
                           possible thqse chargescould be broughtagainstthose who stood
                           againstracism ,hate and wllite suprem acistviolence thatday.
                    ii. W hatwe don'tknow,and the fedèralgovernm entisuhderno
                                   obligation to tellus,is w hether they are going to contiInue w ith
                                   the narrativeinitiatéd by Donald Trum p lastAugust.W e cannot
                                      say with any certaintythattheUSAttorney doesnot4lsowish
                                      to seek indictm ents againstanti-raciyt aqd anti-fascist
                                                                                             I
                                   participants from A ugust 12th.Tllis is w hy w e firm ly beheve
                                   thatnon-cooperation continuesto be oursafestoption when it
                                      com esto grandjuries!                                                     j
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                iii: The sam e law enforcem entwho rely on theviolence arld wllite
                                      supl-em acy ofthestatecan nèverberelied upontosel:vejustice
                                      againstw hite suprem acists.It is vitalto look at this situation
                                       rOnXtllis perspective..W hite'
                                      f'                            supremacistssuch asRilIhard
                                      SpencerandJasön Kesslerarenotàte eattothecontinuçd
                                   legitim acy ofthe stateyW eknow tiekind ofAmericaDonald
                                   Trump andhissupportersm ean when they saythey Q sh to
                                   CtM akeAm erica GreatAgain.''ItisthesamekindofXm erica
                                   that those w ho attended the U nite the Right rally w is'
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                                      d. Another ItsGoingDown.org postw as titled CY A IsFor Grand Jury
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                                            kesistors:A New YearOfRepression AndResistance''                                   j
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                      '                          i. Asyou mightknow,afederalgrandjuryhasbegun toissue
                                                    subpoenas,forcingvictimsofthehorrificattack onAujust12th
                                                    toappearbeforethegrandjury'and testify on behalfofthestater
                                                     On firstappearance,thism ightseem beneficial,allowing a
                                                     federalinstitution ofthe repressive state apparatus
                                                     investigative power overthe events ofthe sum m er,but
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                                                     lghtforliberation in thepast,the grandjuz'yisanother
                                                     instance ofthisoppression.                                               .                    .

                                                 ii. There are thosç in Charlottesvillew ho havebravely chosen to
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                                                     resistthisexultation ofrepressivepower,and we stand in
                                                     solidarity with them .Thisisa callfor allresidentsof
                                                     Charlottesville to stand asw ell,to fightalong those in the  '                                '
                                                     struggleforjusticeandliberation.Ifyou receiveafedqral
                                                     subpoena,don'tbe silent.Contactlocalcom m unity                                           :
                                                     organizationélikeSohdaritycvilleandothergroupsijvolvedin                                              .
                                                     thefightforsocialjustice.                                                I
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                          .                  iii. The nèw yearhasbegun,and with itthe continuation ofourlife-
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                                                  long stéuggle.In the im m ortalwordsofGram sci, t e o wou a
                                                  is dying,and a new one strugglestobe born;now is a tim eof
                                                     monsters.''Thecrisisofourtimesisjustbeginning;weareat
                                                     the forefrontofhistory and now isnotthetim e for idlèpassivity.
                                                     Forthe geedom ofthe working class,ofpeqple ofcolozl
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                                                     ourselvesgand destroy it.There arethose currently fighting,and
                                                     wehavetheresponsibility offghting alongsidethem ln
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